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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO


 BELLA HEALTH AND WELLNESS et
 al.,                                         Case No. 1:23-cv-939-DDD-SKC

    Plaintiffs,

 CHELSEA M. MYNYK,

    Plaintiff-Intervenor,

    v.

 PHIL WEISER, in his official capacity as
 Attorney General of Colorado, et al.,

    Defendants.



                  PLAINTIFFS’ RESPONSE TO DEFENDANTS’
                    MOTIONS FOR SUMMARY JUDGMENT


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                                 INTRODUCTION

   To hear the Boards tell it, “[t]his case is about medicine,” and SB 23-190 is an

ordinary health-and-safety regulation subject to rational-basis review. But that

standard—as the Boards’ own cases make clear—governs laws that do not burden

constitutional rights. It has no application where, as here, Colorado has banned

Plaintiffs’ religious exercise while allowing comparable secular conduct, selectively

targeted their speech as disfavored, and deprived their patients of information and

help needed to stop ongoing abortions they no longer want. There is no avoiding the

Constitution in this case.

   Tellingly, the Boards’ lead citation is to Reynolds v. United States, 98 U.S. 145

(1878), a nearly 150-year-old decision upholding a polygamy conviction. But Reynolds

“rested primarily on the proposition that the Free Exercise Clause protects beliefs,

not conduct”—and “[t]he Court had repudiated that distinction a half century before

Smith was decided.” Fulton v. City of Philadelphia, 593 U.S. 522, 596-97 (2021) (Alito,

J., concurring). That the Boards are forced to reach back two centuries to find author-

ity for their alternate (and antique) version of the First Amendment speaks volumes

about the legal deficiencies of their arguments.

   For his part, the Attorney General badly wants to get out of this case without

taking any position about abortion pill reversal—but he refuses to follow the district

attorneys’ lead and disavow enforcement. Instead, the AG recycles his arguments




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that Plaintiffs’ claims are not justiciable. This Court correctly rejected those argu-

ments before and should do so again.

   Defendants (and the rest of Colorado government) have now confirmed by their

actions that no compelling interest supports SB 23-190. The General Assembly

granted the Boards discretion to flip the statutory “off” switch. The Boards reserved

case-by-case decision-making power. And after 21 months of litigation and full dis-

covery, the AG still cannot formulate a position about the safety or efficacy of APR,

going so far as to refuse to endorse the opinions of the experts his own lawyers hired.

It makes no sense to ask this Court to deem an interest compelling when so much of

Colorado’s own government finds it wholly unpersuasive.

   Because SB 23-190 and its implementing rules violate the First Amendment many

times over, Defendants’ motions for summary judgment should be denied.

     RESPONSE TO ATTORNEY GENERAL’S STATEMENT OF FACTS

   1. Admit Bella is a faith-based Catholic medical clinic. Deny Bella is located in

Lakewood, Colorado. Dkt.94, First Am. Verified Compl. (“Am.Compl.”) ¶¶30, 34.

   2. Admit.

   3. N/A.

   4. Admit.

   5. Admit.

   6. Admit.

   7. Admit.



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   8. Admit sponsors did not name the “fake clinics” and “anti-abortion centers.”

Deny implication that sponsors did not identify the “fake clinics” and “anti-abortion

centers.” Am.Compl. ¶¶160-174 (“faith-based” and “religious-based” organizations);

Pls.Ex.46 at 54 (referring to beliefs of “this particular faith”).

   9. Admit sponsors did not name the “anti-abortion centers.” Deny implication

that sponsors did not identify the “anti-abortion centers.” Am.Compl. ¶¶160-174;

Pls.Ex.46 at 54.

   10. Admit.

   11. Admit the AG did not take a public position on SB 23-190 during the legislative

process.



   12. Admit.

   13. Admit.

   14. Admit.

   15.



   16. Admit.

   17. Admit.

   18. Admit.




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   19. Admit the AG is not bound by “viewpoints of individual legislators.”




   20. Admit.

   21. Admit.

   22. Admit.

   23. Admit.

   24. Admit.

   25. Admit.

   26. Admit.

   27. Admit.

   28. Admit.

   29. Admit.

   30. Admit.

   31. Admit Plaintiffs are not aware of any instance in which a Bella patient asked

Plaintiffs for an abortion. AG.Ex.7 at 37.

   32. Admit.

   33. Admit.

   34. Admit.

   35. Admit.

   36. N/A.



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   37. Admit.

   38. Admit.

   39. Deny.



                                            Pls.Ex.63 at 6-7;



   40. Admit.

   41. Admit.

   42. Admit.

   43. Deny.




   44. Admit.

   45. Deny.

   46. Admit.

   47.



   48.

                                  Pls.Ex.37 at 2;

   49. Admit.

   50. Admit.



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   51. Admit.

   52.



   53. Admit this is the AG’s current position in this federal lawsuit.




   54. Admit the AG has expressed no opinion on whether Plaintiffs’ advertisements

violate the CCPA.



                cf. Br. of States of Cal., Colo. et al. as Amici Curiae at 8, United States

v. Skrmetti, No. 23-477 (U.S. filed Sept. 3, 2024), 2024 WL 4101407.

   55. Deny. What the AG “would” do in a future investigation is not a “fact.” DDD

Civ. P.S. III(E).

   56. Deny implication that the AG does not also have statutory obligations to pros-

ecute complaints referred by the Medical and Nursing Boards. Colo. Rev. Stat. §12-

240-125(4)(c)(V), (5)(d) (Medical Board); id. §12-255-119(3)(c)(V), (4)(d) (Nursing

Board).

   57. Admit subject to statutory language cited in ¶56.

   58. Admit subject to statutory language cited in ¶56.

   59. Admit subject to statutory language cited in ¶56.




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                RESPONSE TO BOARDS’ STATEMENT OF FACTS

   1. Admit.

   2. Admit.

   3. Admit.

   4. Admit.

   5. Admit.

   6. Admit.

   7. Admit.

   8. Admit.

   9. N/A.

   10. N/A.

   11. N/A.

   12. Admit.

   13. Admit.

   14. Admit the Boards are authorized to determine generally accepted standards.



                                                               Pls.Ex.70 (“Keenan

Tr.”) 24:16-24.

   15.




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   16. Admit the Boards generally regulate the use of medical treatments and drugs

through their authority to discipline licensees. Deny the Boards specifically regulate

“off-label” or “experimental use[ ]” of medical treatments or drugs. Pls.Ex.72 at 9.

   17. Admit.

   18. Admit professional nurses (“RN”) and licensed practical nurses (“LPN”) “may

not simply refuse to comply with a treatment or medication order.” Dkt.99-2 ¶10.

Deny implication that RNs and LPNs are not allowed to “advocate for a change” in

“an order for patient care” that she believes will “risk patient safety.” Id.

   19. Deny. No evidence exists that can competently establish as a “fact” the univer-

sal intent of third-party licensees. DDD Civ. P.S. III(E).

   20. Admit.

   21. Admit.

   22. Deny. Pls.Ex.73 (“Wubbenhorst 2/28/25 Supplement”) 7.

   23. Admit.

   24. Admit.

   25. Admit.

   26. Admit the body breaks down mifepristone into metabolites. Deny the metabo-

lites necessarily “block progesterone receptors.” Pls.Ex.74 (“Wubbenhorst Rebuttal”)

8-9; Dkt.184, Pls.Ex.7 (“Cohen Tr.”) 167:14-24.



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   27. Admit.

   28. Admit there is “some evidence” that mifepristone is less effective at “inducing

pregnancy loss” at higher gestational age. Boards.Ex.10 at 37:6-12.

   29. Admit.

   30. Admit the Boards’ expert, Dr. Cohen, advocates expectant management (or

“watchful waiting”) as the standard of care. Dkt.99-1 at 17.



                                                           Also deny Plaintiffs agree

expectant management is the “current standard of care.” Pls.Ex.51.

   31. Deny medication abortion reversal using progesterone is a “theory.” Pls.Ex.6

(“Wubbenhorst Report”) 15-16.

   32. Deny medication abortion reversal using progesterone is a “hypothesis.” Wub-

benhorst Report 15-16.

   33. Admit.

   34. Deny. Plaintiffs cannot testify to what research would be “consider[ed]” by all

“[p]hysicians considering whether to use progesterone for an off-label purpose.”

   35. Deny. Wubbenhorst Report 3-22; Boards.Ex.10 at 32:10-22 (explaining use of

term “reverse”).

   36. Admit “progesterone levels ... in and of themselves, do not appear to predict

whether or not a patient will go on to suffer a pregnancy loss after mifepristone.”

Pls.Ex.80 (“Wubbenhorst Tr.”) 34:5-9.



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      37. Admit.

      38. Admit Dr. Keenan testified “[t]here’s no exact answer” to “[h]ow much proges-

terone flooding will overcome mifepristone’s receptor bond.” Boards.Ex.11 at 40:18-

22.

      39. Deny. No evidence exists that can competently establish as a “fact” what all

“Proponents of Progesterone Intervention” do or “do not know.” DDD Civ. P.S. III(E). 1

      40. Deny. Dr. Keenan testified “it would be inappropriate to mention … the safety

of progesterone used in antagonizing mifepristone” where “that was not the subject

matter at hand in the article.” Boards.Ex.11 at 52:4-25.

      41. Deny Delgado 2012 study was “based on patient self-reports to a hotline.”

Pls.Ex.20.

      42. Deny Delgado 2018 study is “a summary of patient self-reports” that was “re-

tracted for violations of institutional research standards.” See Pls.Ex.22; Wubben-

horst Rebuttal 21-22.

      43. Deny as to “many institutions.” Dkt.99-1 at 13; Dkt.99-2 at 12.

      44. Admit Delgado 2018 study did not report mifepristone dose, history of prior

miscarriage, or pain or bleeding before taking progesterone. Deny the information is

“demographic.” Deny study did not report progesterone dose. Pls.Ex.22 at 26-27.




1   The Boards’ newly minted term “Progesterone Intervention” does not appear in any expert report
or scientific literature in this case.


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   45. Admit. Deny implication that a concurrent control group was necessary or ap-

propriate. Wubbenhorst Report 25.

   46. Admit.

   47. Deny. Wubbenhorst Report 26.

   48. Deny. The study included eight progesterone regimens. Pls.Ex.22 at 27.

   49. Admit.

   50. Admit.

   51. Admit Dr. Creinin’s study is the only RCT testing “Progesterone Intervention”

in humans. See Pls.Ex.19.

   52. Deny. Defendants fail to define “nationally recognized secular medical organi-

zation.”

   53. Deny implication that ACOG represents the interests of all OB-GYNs. Keenan

Tr.121:8-21;

   54. Admit ACOG stated “abortion reversal” “is not a generally accepted standard

of practice based on the current evidence base.” Boards.Ex.12 at 61. Admit the Colo-

rado Section of ACOG stated “abortion reversal” “is not a recognized contemporary

standard of care,” after first taking the position that it “should be subjected to the

longstanding process of study and testing … to validate its claims.” Compare

Boards.Ex.12 at 100-01 (Aug. 7, 2023 comment), with id. at 40-44 (Aug 2, 2023 com-

ment).

   55.



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   56.




   57.




                          Wubbenhorst Report 3-22.

   58. Admit.

   59. Admit.

   60. Deny as to PRISM study, which found no “significantly higher rate of live

births among women with threatened miscarriage overall,” but “did identify a differ-

ential benefit among women with prior miscarriages.” Wubbenhorst Rebuttal 4.

   61. Deny. PRISM concluded there was a benefit to progesterone therapy for women

with one or more miscarriages, and the “benefit was even greater” for women with

three or more prior miscarriages. Pls.Ex.13 at 5; Pls.Ex.12 at 24.

   62. Admit.

   63. Admit.

   64.



   65.




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   66.



   67.



   68.



                                       cf. Keenan Tr.42:9-15.

   69. Deny Bella “endorses” a case-specific assessment of patient care to “determine”

whether a provider meets standard of care in prescribing progesterone.




   70.




   71.




   72. Admit.

   73. Admit.




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      74. Admit Bella expects its providers to receive, read, and utilize the Guideline

where applicable.



      75.




  .

      76.




      77.



      78.

      79.




      80. Admit.

      81.




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   82. Admit the Guideline does not cite the Creinin study. Deny the Guideline

“omits” it.



   83. Deny.




   84. Deny.



   85. Admit.

   86. Deny.



   87.




   88. N/A.

   89. N/A.

   90. Admit.

   91. N/A.

   92. N/A.

   93. N/A.



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    94. N/A.

    95. N/A.

    96. N/A.

    97. N/A.

    98. N/A.

    99. N/A.

    100.    N/A.

    101.    N/A.

    102.   Admit.

    103.   Deny. Lawmakers used terms like “faith-based” throughout the legislative

process. Pls.Ex.46 at 54:3-15.

    104.   Admit.

    105.   Deny. There are multiple additional references to a specific religion and

faith. E.g., Pls.Ex.46 at 54:3-15 (“this particular faith”).

    106.   Deny. Representative McCormick stated “[f]aith-based counseling is abso-

lutely fine,” but “the voice of this particular faith” is “riddled with guilt-inducing anti-

abortion messages.” Pls.Ex.46 at 54:5-10.

    107.   Deny. Bill sponsors specifically targeted religious services from “this par-

ticular faith.” Pls.Ex.46 at 54:7, 11.

    108.   Deny as to “no ideological affiliation.” Dkt.94-10 at 5 (referring to “18

Planned Parenthood Clinics” and “76 state-funded health clinic[s]”).



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   109.   Deny “repeatedly informed.” Pls.Ex.43 at 23:1-6 (Dr. Creinin asserting

“zero medical evidence”).

   110.   Admit.

   111.   Admit.

   112.   Deny “[b]oth Board Defendants,” as the Board members are individual De-

fendants. Am.Compl. 1-2.

   113.   Admit.

   114.   Admit.

   115.   Admit.

   116.   Admit.

                                    ARGUMENT

I. Plaintiffs’ claims are justiciable.

   The AG urges the very same standing arguments this Court previously rejected—

but without bothering to cite this Court’s prior opinion, much less engage its analysis.

And after nearly two years of litigation, he refuses to take any position on the safety

or efficacy of APR or whether Plaintiffs’ statements are deceptive. Instead, he dog-

gedly claims that Plaintiffs cannot challenge Sections 1 or 2—not because he has dis-

avowed enforcement, but because Plaintiffs view their own conduct as honest. That

is not how Article III works.




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   A. Plaintiffs have standing to challenge Section 1.

   Article III standing requires “(1) an injury in fact, (2) fairly traceable to the chal-

lenged conduct of the defendant, (3) that is likely to be redressed by the requested

relief.” FEC v. Cruz, 596 U.S. 289, 296 (2002); Dkt.113 at 14. Plaintiffs easily meet

the three requirements here.

   The AG disputes only injury in fact. A plaintiff is not required to expose herself to

“actual arrest, prosecution or other enforcement action.” SBA List v. Driehaus, 573

U.S. 149, 158 (2014). Rather, the Supreme Court has established a three-part test for

pre-enforcement injuries. The plaintiff must allege (1) “an intention to engage in a

course of conduct arguably affected with a constitutional interest”; (2) that the “in-

tended future conduct is ‘arguably proscribed by [the] statute’” the plaintiff “wish[es]

to challenge”; and (3) that “there exists a credible threat of prosecution thereunder.”

Id. at 159-60, 162, 167. The Tenth Circuit “appl[ies] a low evidentiary bar for pre-

enforcement standing on First Amendment claims,” including at summary judgment.

Colo. Union of Taxpayers v. Griswold, No. 22-1122, 2023 WL 5426581, at *2 (10th

Cir. Aug. 23, 2023).

   Plaintiffs satisfy all three injury-in-fact elements for a pre-enforcement challenge.

   First, Plaintiffs’ intended conduct is arguably affected with a constitutional inter-

est. Plaintiffs “have a religious obligation to offer abortion pill reversal.” Dkt.180

(“Pls.SOF”) ¶¶78-79. That’s why Bella also “describes and promotes the availability

of abortion pill reversal on its website [and] social media accounts.” Pls.SOF ¶¶81-82;



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Pls.Ex.26; Pls.Ex.27. Such “speech” is “certainly ‘affected with a constitutional inter-

est.” SBA List, 573 U.S. at 162; see also 303 Creative v. Elenis, 6 F.4th 1160, 1170,

1172 (10th Cir. 2021), rev’d on other grounds, 600 U.S. 570 (2023) (conduct “affected

with a constitutional interest” where graphic designer “holds a sincere religious belief

that prevents her from creating websites that celebrate same-sex marriage”). 2

    Second, Plaintiffs intend to “engage in conduct that would arguably violate the

law.” Griswold, 2023 WL 5426581, at *1. Section 1 describes APR as “a dangerous

and deceptive practice,” §1(1)(f), and then declares that the CCPA “applies” to “ad-

vertising for ... medication abortion reversal,” §1(3)(b). That actually proscribes

Plaintiffs’ advertising—and not accidentally. Pls.SOF ¶115.

    The AG again downgrades Section 1 as “an uncodified legislative declaration.”

AG.MSJ.16. But “Section One cannot be ignored entirely.” Dkt.113 at 22. Colorado

courts are free to consider legislative declarations to determine a law’s purpose and

interpret its provisions, particularly where other provisions are ambiguous. See, e.g.,

People ex rel. T.B., 452 P.3d 36, 43 (Colo. App. 2016). As the en banc Colorado Su-

preme Court put it: “Our goal [in interpreting the CCPA] is to give effect to the intent

of the General Assembly.” Crowe v. Tulle, 126 P.3d 196, 201 (Colo. 2006). The “inten-

tion of the legislature prevails over a literal interpretation” of the statute, and Colo-

rado courts will “avoid constructions that defeat the legislature’s intent.” Id. Indeed,



2   The AG does not cite SBA List and analyzes only the factors for pre-enforcement standing based
on chilled speech. AG.MSJ.15; but see Dkt.68 at 6 (citing and applying SBA List at motion-to-dismiss
stage). For the reasons set forth below, Plaintiffs satisfy those factors too.


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a “legislative declaration” is “[o]ften the best guide to legislative intent.” Stamp v.

Vail Corp., 172 P.3d 437 (Colo. 2007) (emphasis added).

   Section 1 shouts from the rooftops the legislature’s view that APR is a “dangerous

and deceptive practice” and then “applies” the CCPA to “advertising” for APR. SB 23-

190 §§1(f), 1(3)(b). It also declares “stopping deceptive trade practices relating

to … medication abortion reversal” a “matter[ ] of statewide concern.” §1(2)(a).




   Faced with these explicit indicia of legislative intent, the AG moves the goalposts:

advertising APR is not a “per se” violation of the CCPA. AG.MSJ.18. But Plaintiffs

need not show that advertising APR will “automatically violate” the law. See id. (em-

phasis added). They need only show that advertising APR is “arguably proscribed” by

the law.” SBA List, 573 U.S. at 162 (emphasis added). It plainly is.

   The AG next points to the CCPA’s mens rea requirements, claiming that Plaintiffs

lack standing because they have not “knowingly or recklessly” advertised APR “in a

deceptive manner.” AG.MSJ.19. The Supreme Court squarely rejected this argument

in SBA List. There, respondents claimed that SBA List lacked standing to challenge

Ohio’s false-statement law because it did not “‘plan[ ] to lie.’” 573 U.S. at 163. The

Sixth Circuit agreed, reasoning that because SBA List was only liable for “knowing”

falsities, its “insistence that its speech is factually true” defeated standing. Id. The




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Supreme Court unanimously reversed, holding that “[n]othing in this Court’s deci-

sions requires a plaintiff who wishes to challenge the constitutionality of a law to

confess that he will in fact violate the law.” Id.

   So too here. Plaintiffs have always made clear that they believe their speech about

APR is truthful. Am.Compl.¶¶95, 126. They need not make a pre-confession to chal-

lenge a law that openly declares their speech to be “deceptive,” SB 23-190 §1(1)(f),

and thus “at least arguabl[y]” proscribes their advertisements, Dkt.113 at 22-23.

   Third, Plaintiffs face a credible threat of enforcement. This prong “is not supposed

to be a difficult bar” in the First Amendment context. Peck v. McCann, 43 F.4th 1116,

1133 (10th Cir. 2022). The Tenth Circuit considers: “(1) whether the plaintiff showed

past enforcement against the same conduct; (2) whether authority to initiate charges

was not limited to a prosecutor or an agency and, instead, any person could file a

complaint against the plaintiffs; and (3) whether the state disavowed future enforce-

ment.” Id. at 1132 (internal quotation marks omitted).

   There is no past enforcement of SB 23-190—because the law was immediately

enjoined. Nor is it surprising that the CCPA was not previously wielded against APR

advertising, as the AG had no prior knowledge of any complaints about APR. Dkt.51

at 76:16-19. In any event, SB 23-190 “is recently enacted” and “not moribund,” so “its

existence alone may create a [credible] threat.” Brown v. Herbert, 850 F.Supp.2d

1240, 1248 (D. Utah. 2012).




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   The remaining two credible-threat factors decisively favor Plaintiffs. CCPA en-

forcement is “not limited to a prosecutor or an agency.” Peck, 43 F.4th at 1132. “[A]ny

person” who is an “actual or potential consumer” and is allegedly injured may sue,

Colo. Rev. Stat. §6-1-113(1)(a), which “bolster[s]” the “credibility of th[e] threat,” SBA

List, 573 U.S. at 164.

   More importantly, the AG makes no attempt to “disavow[ ] future enforcement” of

SB 23-190. Peck, 43 F.4th at 1132.




   By contrast, the three district attorneys who were dismissed from this case pro-

vided “clear disavowals” of enforcement. Dkt.113 at 18, 20. At the beginning of this

case, counsel for the AG “unequivocally stated” that he “w[ould] not enforce Senate

Bill 23-190 pending the outcome of the rulemaking.” Dkt.51 at 12:14-17. But now

“[t]here is nothing, not even [his] word,” to prevent the AG from bringing charges

against Plaintiffs. Peck, 43 F.4th at 1133. This case is not Clapper, cf. AG.MSJ.17

(citing Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410 (2013)), and Plaintiffs’ fears

“do not ‘rest on guesswork’ or ‘a highly attenuated chain of possibilities,’” 303 Crea-

tive, 6 F.4th at 1173. Those fears are “objectively justifiable.” Peck, 43 F.4th at 1133.

The AG ignores SBA List and discusses only the chilled-speech test in Initiative &

Referendum Institute v. Walker, 450 F.3d 1082, 1089 (10th Cir. 2006) (en banc). To



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the extent the Walker test for injury-in-fact remains distinct from the SBA List test, 3

Plaintiffs satisfy Walker too. Plaintiffs’ speech is “affected by” SB 23-190 because

their advertisements for APR are an “apparent violation” of it. Peck, 43 F.4th at 1130;

see also Chiles v. Salazar, 116 F.4th 1178, 1197 (10th Cir. 2024) (first Walker prong

satisfied where plaintiff “engaged in conduct she believes the [law] proscribes”).

Plaintiffs also have a “present desire … to engage in” the restricted speech, Walker,

450 F.3d at 1089, as demonstrated by their ongoing speech about APR under this

Court’s protection. Pls.SOF ¶¶81-82. And the credible threat of enforcement remains.

Griswold, 2023 WL 5426581, at *3 n.4 (“We have never interpreted a ‘credible fear’

differently based on the plaintiff’s theory of standing.”).

    B. Plaintiffs have standing to challenge Section 2.

    For similar reasons, Plaintiffs also have standing to challenge Section 2. Once

again, the AG contests only injury in fact. And once again, all three elements of injury

in fact for a pre-enforcement challenge are readily satisfied.

    First, Plaintiffs’ intended conduct is arguably affected with a constitutional inter-

est. Bella describes itself as a “comprehensive, life-affirming OB-GYN practice” that

offers a “full continuum of care.” Pls.SOF ¶10. Such “speech”—describing the core of

Bella’s identity—is “certainly ‘affected with a constitutional interest.” SBA List, 573

U.S. at 162. The AG does not contend otherwise.



3   Compare Griswold, 2023 WL 5426581, at *3 n.4 (“[SBA] List did not involve a theory of chilled
speech”), with SBA List, 573 U.S. at 155 (complaint alleged “SBA’s speech … had been chilled”); see
also 303 Creative, 6 F.4th at 1171-75 (applying SBA List where plaintiffs alleged chill).


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      Second, Plaintiffs’ intended conduct “arguably violate[s] the law.” Griswold, 2023

WL 5426581, at *1. Bella uses the same terms to describe itself that sponsors of SB

23-190 denounced as deceptive when used by pro-life providers. Pls.SOF ¶¶117-19.

The AG says comments by legislators are “unrelated to how the [AG], a separate ac-

tor, will enforce the CCPA.” AG.MSJ.24. But the relevant question is whether Plain-

tiffs’ speech is “arguably … proscribed” by Section 2. SBA List, 573 U.S. at 162. Given

that multiple sponsors of SB 23-190 argued that it is deceptive for pro-life providers

to use terms like “comprehensive,” it is at the very least “arguable” that Bella’s ad-

vertisements using those terms “could run afoul of the laws on the books.” Dkt.113 at

22.

      Indeed, the AG himself routinely relies on the testimony of bill sponsors in litigat-

ing the meaning of state statutes. See, e.g., Br. of State at *29, Colo. Prop. Tax Adm’r

v. CO2 Comm., Inc., 527 P.3d 371 (Colo. 2023), 2022 WL 19520798; State ex rel. Weiser

v. Ctr. for Excellence in Higher Educ., 499 P.3d 1081, 1092 (Colo. Ct. App. 2021). It is

not treating the government “as a monolith,” Murthy v. Missouri, 603 U.S. 43, 69

(2024), to fear that the AG, private plaintiffs, and courts will do the same here.

      Third, Plaintiffs face a credible threat of enforcement under Section 2. There is

more than enough to satisfy the “extremely low” pre-enforcement evidentiary bar.

Peck, 43 F.4th at 1133.



  And the district attorneys have stated that they will refer complaints to him.



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Dkt.113 at 23. The AG says he “has not investigated anyone, including Plaintiffs, for

any conduct that would come close to the conduct that Section Two prohibits.”

AG.MSJ.24. But that “does little to diminish a fear of enforcement given how new the

law is,” Dkt.113 at 23, and given that it was quickly enjoined. Moreover, Section 2 is

“recently enacted” and “not moribund,” and thus “its existence alone” may create a

credible threat. Brown, 850 F. Supp. 2d at 1248.

   As to third-party enforcement, the AG does not dispute that third parties may

bring complaints under the CCPA that could also trigger enforcement action by the

AG. Dkt.113 at 24. That “bolster[s]” the “credibility of th[e] threat.” SBA List, 573

U.S. at 164.

   As to disavowal, the AG has provided no sworn disavowal of enforcement.

                   He repeats the stingy concession that “the phrase ‘we offer com-

prehensive, life-affirming care’ on its own is not deceptive.” AG.MSJ.24 (emphasis

added). But even that is not a sworn disavowal, and concessions by counsel “do not

have the same sort of force as the [AG] forswearing enforcement under penalty of

perjury.” Dkt.113 at 24. And on its face, it offers no protection for Bella’s advertise-

ments using similar but not identical language. Pls.SOF ¶10.

   Remarkably, the AG complains that Plaintiffs’ Section 2 claims are “devoid of the

context that the CCPA, and the [AG], requires.” AG.MSJ.25. But Bella’s advertise-

ments—which were attached to the pleadings, Am.Compl. ¶¶125-31—provide the ex-

act “context” of its use of the relevant phrases, Pls.Exs.3-5.



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   The AG says he “cannot preemptively exempt” from the CCPA advertisements

that use the terms “comprehensive” or “full continuum.” AG.MSJ.24. It is more accu-

rate to say that he has deliberately refused to disavow enforcement as to the specific

Bella advertisements at issue. The AG is certainly entitled to make that choice. But

his “staunch refusal to disavow prosecution” carries “heavy weight” in Plaintiffs’ fa-

vor. Chiles, 116 F.4th at 1198-99. The credible-threat standard is amply satisfied.

   Just as with Section 1, supra p.17, Plaintiffs satisfy Walker too. Bella’s speech is

“affected by” Section 2 because its advertisements using “comprehensive” and similar

terms are an “apparent violation” of it. Peck, 43 F.4th at 1130; cf. Pls.SOF ¶¶117-19.

Plaintiffs also have a “present desire … to engage in the restricted speech,” Walker,

450 F.3d at 1089, as demonstrated by their ongoing use of that language. Pls.’ SOF

¶10. And the same credible threat of enforcement persists.

   C. Plaintiffs’ claims are ripe.

   Finally, the AG claims for the first time—after nearly two years of litigation—that

Plaintiffs’ claims are unripe. AG.MSJ.25. That argument fails too.

   “To the extent there is a difference between constitutional standing and ripeness,

it does not alter the analysis here.” Teva Pharms., USA v. Weiser, 709 F. Supp. 3d



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1366 (D. Colo. 2023). In pre-enforcement challenges, standing and ripeness often “boil

down to the same question.” SBA List, 573 U.S. at 157 n.5.

   The AG repackages his credible-threat arguments, claiming that Plaintiffs’ fear of

enforcement “rests entirely on uncertain or contingent future events” because he “has

not investigated Plaintiffs” and “has no plans to do so.” AG.MSJ.26-27. As explained

above, supra pp.16, 19, the absence of enforcement history “does little to diminish a

fear of enforcement given how new the law is,” Dkt.113 at 23, and how quickly it was

enjoined. And if an “investigat[ion]” or “plans” to investigate were required to ripen

a claim, AG.MSJ.27, that would eviscerate pre-enforcement challenges altogether.

SBA List holds the opposite. 573 U.S. at 158.

   The AG further claims that “Plaintiffs will not face hardship if the Court with-

holds judgment.” AG.MSJ.27. This fails the straight-face test. Because of SB 23-190,

Bella faces staggering financial penalties if it continues to publicize APR and describe

itself as a “comprehensive” or “full-service” OB-GYN practice. Pls.SOF ¶¶148-49. The

hardship to Bella’s patients is even more severe, as SB 23-190 will prevent them from

receiving time-sensitive information about APR. Pls.SOF ¶¶150-51. Absent this

Court’s protection, Plaintiffs will “ha[ve] to choose between either following the law

under [SB 23-190] and forgoing prohibited speech,” or “moving forward by making

[their] desired disclosures.” Peck, 43 F.4th at 1134. This “dilemma” is “directly

caused” by SB 23-190. Id. Nothing more is required.




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II. Plaintiffs have shown actual success on the merits of Counts I-VIII.

   A. Colorado’s ban on abortion pill reversal violates the Free Exercise
      Clause.

   SB 23-190 burdens Plaintiffs’ religious exercise and violates each of “three bedrock

requirements of the Free Exercise Clause.” Fellowship of Christian Athletes v. San

Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th 664, 686 (9th Cir. 2023) (en banc) (FCA);

see Dkt.180 (“Pls.MSJ.”) 33-43. Colorado cannot prove otherwise. Thus, SB 23-190 is

subject to strict scrutiny, see Axson-Flynn v. Johnson, 356 F.3d 1277, 1294 (10th Cir.

2004), which it fails.

       1. The ban burdens Plaintiffs’ religious exercise.

   There is “no question” whether SB 23-190 burdens Plaintiffs’ religious exercise:

“It does.” Dkt.113 at 32; see Pls.MSJ.33-34.

   Colorado did “not contest[ ] that SB 23-190 burdens Bella Health’s religious prac-

tice” at the preliminary injunction stage. Dkt.113 at 32. Yet the Boards now say that

“[p]rescribing and administering a drug is a secular act,” and that “[p]rescribing or

administering progesterone to a patient during a medical appointment is not a reli-

gious practice like peyote in Smith or animal sacrifice in Lukumi.” Boards.MSJ.27.

   But the government “does not have the power to decide what tasks are a necessary

part of an individual’s religious [exercise].” Denver Bible Church v. Azar, 494 F. Supp.

3d 816, 833 (D. Colo. 2020). There is no dispute that Plaintiffs have a sincere religious

obligation to offer APR. Pls.SOF ¶¶7, 77-79. In this respect, Plaintiffs are just like

the religious parties who wanted to bake a cake in Masterpiece, run a foster agency


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in Fulton, or exclude abortion-inducing drugs from their healthcare plan in Hobby

Lobby: They are engaged in a religious exercise that the government seeks to punish.

And it is the religious party’s beliefs—not the government’s—that dictate whether

the prohibited conduct is a religious exercise.

   SB 23-190 does not just “incidentally burden[ ]” Plaintiffs’ religious exercise, con-

tra Boards.MSJ.25—it “ban[s]” it under threat of lost licenses and crippling penalties.

Id. at 31. “If these consequences do not amount to a substantial burden, it is hard to

see what would.” Burwell v. Hobby Lobby Stores, 573 U.S. 682, 691 (2014).

      2. The ban is not generally applicable because it treats religious ac-
         tivity less favorably than comparable secular activity (Count I).

   Section 23-190 is not generally applicable because it “treats comparable secular

activity more favorably” than Plaintiffs’ “religious activity.” Dkt.113 at 32 (citing Tan-

don v. Newsom, 593 U.S. 61, 62 (2021)); Pls.MSJ.34-39. A law lacks general applica-

bility if it “treat[s] any comparable secular activity more favorably than religious ex-

ercise.” Tandon, 593 U.S at 62. The comparability of “two activities” is “judged

against” the “government interest that justifies the regulation at issue.” Id. Once a

plaintiff shows that any comparable secular activity is treated more favorably, strict

scrutiny follows. Does 1-11 v. Bd. of Regents of Univ. of Colo., 100 F.4th 1251, 1277-

78 (10th Cir. 2024).

   Defendants previously asserted interests in prohibiting the off-label use of drugs

based on the “lack of scientific evidence” about their “potential risks” and “efficacy.”




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Dkt.99 at 25; see Dkt.113 at 34. As Plaintiffs have explained, see Pls.MSJ.35-39, these

claims collapsed during discovery.

   As to safety, Dr. Cohen admits that “progesterone itself is safe.” Pls.Ex.10 (“Cohen

Report 1-C”) 1; see also Cohen Tr.124:12-125:2 (“my concern was not that [APR] is

dangerous”); Dkt.99-1 at 17 (“low-risk medication”). This concession makes perfect

sense given the essential role of progesterone during pregnancy, Cohen Tr.41:2-10,

and the decades-long history of safely using progesterone for numerous indications in

obstetrics and gynecology, id. 44:25-49:24; Wubbenhorst Report 4-10. Notably, Colo-

rado has not regulated any other use of progesterone.

   The only safety concerns the Boards can muster relate not to the use of progester-

one but to the use of mifepristone, particularly in the absence of misoprostol.

Boards.MSJ.37; Cohen Tr.135:7-20. But those concerns apply equally to “[e]xpectant

[m]anagement,” which Dr. Cohen says is the relevant standard of care, Dkt.99-1 at

17, and in which patients also refrain from taking misoprostol, Boards.SOF ¶¶73-75.

Because the only alleged safety risk applies equally to Defendants’ own proposed

standard of care—and because Colorado has taken no action to regulate that treat-

ment, Pls.Ex.34 at 6-7—SB 23-190 is not generally applicable. Tandon, 593 U.S. at

62; Dkt.113 at 34-35.

   As to effectiveness, the Boards summarily claim that “research supports other

progesterone interventions.” Boards.MSJ.32. But Dr. Cohen repeatedly denigrates

the evidence for other uses of progesterone. She says the use of progesterone to treat



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threatened miscarriage is a “theory” that “reli[es] on low-quality case series.” Dkt.99-

1 at 8; see also Cohen Report 1-C at 2; Pls.Ex.23 (“Cohen Report 1-D”) 1; Dkt.113 at

35 (noting “[s]imilar scientific uncertainty” as to “some of those other uses”). She also

derides the use of progesterone to treat premenstrual syndrome as “clinically ineffec-

tive,” Cohen Report 1-C at 1, and says using progesterone for luteal-phase support

“has not shown to be beneficial in all methods of assisted reproduction,” Cohen Report

1-D at 1.

                   the Boards cannot now rest their theory of general applicability on

efficacy arguments she expressly rejected.

   For the first time at summary judgment, the Boards unveil a new justification for

singling out APR. They now claim—with no citation—that APR is “unique among

progesterone treatments” because “[i]t is the only one in which progesterone is used

in conjunction with a progesterone antagonist.” Boards.MSJ.3. Nothing in the record

supports this newfound theory, which is a bald attempt to “adjust[ ] the dials just

right” and “fine-tun[e] the level of generality up or down” in order to “engineer” the

conclusion that there is no comparable secular activity. Masterpiece Cakeshop v. Colo.

C.R. Comm’n, 584 U.S. 617, 652 (2018) (Gorsuch, J., concurring).

   The record refutes it anyway. As Dr. Wubbenhorst explains, “[u]sing higher doses

of a receptor agonist to counteract the effects of a receptor antagonist is not a new

idea.” Wubbenhorst 2/28/25 Supplement at 2. The classic example from emergency




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medicine is carbon monoxide poisoning. Carbon monoxide is an antagonist of oxy-

gen—but the standard emergency treatment for carbon monoxide poisoning is “high-

flow oxygen therapy.” Id. at 3. Thus, oxygen is routinely administered “in the pres-

ence of its antagonist” in order to “counteract carbon monoxide’s effects.” Id.; see also

id. at 5 (additional examples of unregulated agonist-antagonist pairings).

   The same principles apply to the use of the progestin depot medroxyprogesterone

acetate (DMPA)—a semisynthetic compound that mimics progesterone and is used

as a contraceptive—with mifepristone. Id. at 3-5. Because DMPA (like progesterone)

“may interfere with the effects of mifepristone,” ongoing pregnancy is “significantly

more common” when the two drugs are administered on the same day. Id. at 3-4. For

that reason, ACOG instructs physicians to counsel patients that administering

DMPA for contraception on the same day as mifepristone “may increase the risk of

ongoing pregnancy.” Pls.Ex.25 at 15.

   Yet Colorado does nothing to prohibit physicians from administering DMPA after

a patient takes mifepristone. Indeed, Dr. Cohen freely admits that she “continue[s]

to administer DMPA and mifepristone at the same time”—she “just do[es] so after

counseling patients on the slightly elevated risk of ongoing pregnancy during the in-

formed consent process.” Cohen Report 1-C at 5. Thus, Colorado allows providers—

including Defendants’ own expert—to administer a progestin after mifepristone to

prevent a woman’s future pregnancy, while at the same time banning Plaintiffs from

administering bioidentical progesterone after mifepristone to maintain a woman’s



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current pregnancy. That fatally undermines the Boards’ purported interest in regu-

lating hormones in the presence of their antagonists.

   Colorado’s failure to regulate any of these agonist-antagonist pairings proves that

its newfound objection is simply made up. Indeed, the Boards have effectively con-

ceded as much.




                                    See, e.g., Pls.Ex.77 at 2 (“the Boards endorse the

opinions of Dr. Rebecca Cohen and Dr. Patricia Cullen”);




     Moreover, neither Dr. Cohen nor Ms. Cullen has ever asserted that APR is

uniquely dangerous because it is “used in conjunction with a progesterone antago-

nist.” Boards.MSJ.3. This factually unsupported theory, “invented post hoc in re-

sponse to litigation” (and apparently invented by counsel, rather than by the Boards

or their experts) cannot now be recast as a legal justification. United States v. Vir-




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ginia, 518 U.S. 515, 533 (1996). Given the “vastly underinclusive” nature of Colo-

rado’s regulatory regime, Dkt.113 at 34-35, there is no escaping the conclusion that

SB 23-190 lacks general applicability and therefore triggers strict scrutiny.

      3. The ban is not generally applicable because it contains mecha-
         nisms for individualized exemptions (Count II).

   SB 23-190 and its implementing rules are also not generally applicable because

they “contain multiple mechanisms for exceptions” that “undermine the State’s as-

serted interests.” Dkt.113 at 32, 36-37; Pls.MSJ.39-41. Discretion is inconsistent with

general applicability: “it ‘invite[s]’ the government to decide which reasons for not

complying with the policy are worthy of solicitude.” Fulton, 593 U.S. at 537 (quoting

Employment Div. v. Smith, 494 U.S. 872, 884 (1990)). And such discretion means that

burdens imposed by the government are the opposite of the “incidental” burdens

Smith envisioned. See id. at 878. “[T]he mere existence of government discretion is

enough to render a policy not generally applicable.” FCA, 82 F.4th at 685. And the

“greater [the] discretion in the hands of governmental actors,” the “more, not less,

constitutionally suspect.” Axson-Flynn, 356 F.3d at 1298-99.

   The Boards claim “[t]here are no exceptions to the law or rule, secular or other-

wise.” Boards.MSJ.31. That is wrong three times over.

   First, SB 23-190 made “the uniformity of Section Three’s application … dependent

on the outcome of three boards’ rulemaking.” Dkt.113 at 36. The fact that the law

included this discretionary “off” switch “undermines the [State’s] contention that its

[regulations] can brook no departures.” Fulton, 593 U.S. at 542.


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   Second, the Boards’ implementing rules have exemptions baked in. The Medical

Board rule prohibits the use of progesterone for APR, but allows the Board to evaluate

any “other” types of APR “on a case-by-case basis.” Pls.Ex.53 at 7. The Nursing and

Pharmacy Boards’ rules retain even more discretion, allowing them to evaluate all

APR on a “case-by-case basis.” Pls.Ex.54 at 2; Pls.Ex.65 at 2. All three rules thus

contain “system[s] of individual exemptions, made … at the ‘sole discretion’ of the

[Boards].” Fulton, 593 U.S. at 535.

   Third, the Boards retain discretion about whether and how to punish any provider

for unprofessional conduct or violating generally accepted standards of practice.

Pls.Ex.30 (“Delp 11/14 Tr.”) 36:9-14, 43:16-20; Pls.Ex.31 (“Shackelford Tr.”) 34:4-12,

47:18-48:24; Pls.Ex.32 (“Hills Tr.”) 76:9-22, 79:18-21, 124:24-125:6. This discretion

impermissibly “invite[s] [Colorado] to decide which reasons for not complying with

the policy are worthy of solicitude.” Fulton, 593 U.S. at 537; see also Axson-Flynn, 356

F.3d at 1298 (law contains individualized exemptions when it includes “systems that

are designed to make case-by-case determinations”); Delp 12/12 Tr.30:11-14, 33:6-8,

34:13-17 (“case by case”); Shackelford Tr.34:4-12, 48:22-24 (same); Hills Tr.76:14-16,

79:18-21 (same).

   The Boards says there is “good reason” for the Nursing Board’s case-by-case rule

because “[u]nlike the Medical Board, Nursing Board licensees practice at all levels of

patient care,” and most “lack discretion to ignore treatment orders.” Boards.MSJ.35.

They further contend that if the Nursing Board had adopted a “categorical ban” on



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APR, it would have forced its licensees into an “unsolvable dilemma: either violate

the rule or ignore a medication order.” Id. at 35-36. The Boards offer no record support

for these claims—because there is none. Hills Tr.125:21-126:10. And Colorado has no

stronger interest in preventing a physician—as opposed to a nurse with prescriptive

authority—from using progesterone for APR.

                               The Boards’ “unsolvable dilemma” justification is post

hoc and purely invented.

   The Boards try to downplay their discretion by saying that their investigations,

unlike the “discretionary exceptions described in Fulton,” are “replete with due pro-

cess guarantees.” Boards.MSJ.32. This is the same “overly narrow” interpretation of

Fulton that the en banc Ninth Circuit rejected in FCA. 82 F.4th at 687. Fulton is not

“only concerned with ‘unfettered’ discretion,” but instead holds that “the mere exist-

ence of a discretionary mechanism to grant exemptions can be sufficient to render a

policy not generally applicable, regardless of the actual exercise.” Id. at 687-88 (em-

phasis added). The Boards’ rules contain broad “discretionary mechanism[s]” in

spades, with the Medical Board evaluating any “other” types of APR “on a case-by-

case basis,” Pls.Ex.53, and the Nursing Board evaluating all APR “on a case-by-case

basis,” Pls.Ex.54. Contra Chiles, 116 F.4th at 1224-25 (law generally applicable where

“there is no mechanism for the regulatory Boards to consider the particular reasons

for a person’s conduct” (cleaned up) (emphasis added)). Any procedural requirements

that kick in after the Boards decide to initiate an investigation do not eliminate their



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initial discretionary mechanisms for “decid[ing] which reasons for not complying with

the policy are worthy of solicitude.” Fulton, 593 U.S. at 537.

   The possibility that “Board Rules and the standard of care [c]ould change” in the

future cures nothing. Boards.MSJ.34-35. The current statute bans APR—subject to

veto by the three Boards. The current rules authorize the Boards to make “case-by-

case” determinations about which instances of APR fall below the standard of care

and which do not. And the current system of investigation and enforcement is “de-

signed to make case-by-case determinations.” Axson-Flynn, 356 F.3d at 1298. The

“mere existence” of any one of these discretionary mechanisms would be enough to

render SB 23-190 not generally applicable. See FCA, 82 F.4th at 687-88. Taken to-

gether, there is ample evidence that SB 23-190 fails general applicability and is thus

subject to strict scrutiny.

       4. The ban is not neutral (Count III).

   SB 23-190 also fails the neutrality standard because its “object” is “to infringe

upon or restrict practices because of their religious motivation.” Church of Lukumi

Babalu Aye v. City of Hialeah, 508 U.S. 520, 533 (1993); see Dkt.113 at 37-38;

Pls.MSJ.41-43. Because government hostility to religion can be “masked, as well as

overt,” courts must “survey meticulously” all evidence of a law’s purpose, including

“the legislative or administrative history.” Lukumi, 508 U.S. at 534, 540.

   On its face, SB 23-190 expressly targets “anti-abortion centers, also known as ‘cri-

sis pregnancy centers,’” which it accuses of “us[ing] deceptive advertising tactics” and



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“go[ing] so far as to advertise medication abortion reversal.” §1(1)(c)-(f). The article

quoted in Section 1 recognizes that “[m]ost [crisis pregnancy centers] are religiously

affiliated,” and claims that “religious ideology … takes priority over the health and

well-being of the women seeking care at these centers.” Amy G. Bryant, Why Crisis

Pregnancy Centers Are Legal but Unethical, AMA J. Ethics (Mar. 2018),

https://perma.cc/Z8QW-9FFR. The text of Section 1 alone thus confirms that Colorado

knew the “anti-abortion centers” targeted by the law were primarily religious provid-

ers.

   The legislative history is even more explicit. One sponsor explained that the bill’s

use of “anti-abortion center” referred to “faith-based organizations that pose as a com-

prehensive reproductive health care clinic.” Pls.Ex.43 at 3:1-5; see also Pls.Ex.46 at

54:3-4 (“many of these crisis pregnancy centers are religiously affiliated”). She also

stated that these “fake clinics” were “the only ones that can prescribe [APR].”

Pls.Ex.43 at 3:2; Pls.Ex.44 at 2:21-22. The sponsors did not hide their disdain for

these religious providers—accusing them of “sham[ing]” women and engaging in “de-

lay tactics,” “disinformation,” and “intimidation.” Pls.Ex.43 at 2:22-23.

   That same religious animus infected the rulemaking. Three bill sponsors—includ-

ing those who repeatedly targeted “faith-based” organizations—submitted a rulemak-

ing comment expressing their “dismay and disappointment in the proposed draft

‘rules,’” which they said “would have the opposite effect” of their legislative intent to




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“stop” APR. Written Stakeholder Comments at 1239, Colorado Department of Regu-

latory Agencies, https://perma.cc/53ZP-HBKF. Two of those sponsors then attended a

Board stakeholder meeting to urge the Boards to “reconsider your draft rules and

carefully reread the instructions” in the statute. Pls.Ex.52 at 14:12-13; id. at 22:22-

23:2 (“I just want to make it incredibly clear what the legislative intent was”).

   The record here shows far more than the “subtle departures from neutrality” that

violate the Free Exercise Clause. Masterpiece, 584 U.S. at 638. It also stands in

marked contrast to Chiles, where “[n]othing in the record suggest[ed] that the [law’s]

aim [wa]s to infringe or restrict practices because of their religious motivation,” 116

F.4th at 1223. Here, it is the Boards that don’t “meaningfully address the legislative

history.” Id. And here, the record is replete with evidence that SB 23-190 and its rules

were enacted “because of,” not merely “in spite of,” their “suppression of … religious

practice.” Lukumi, 508 U.S. at 540 (emphasis added).

   The Boards say this is “not the first time” the General Assembly has “prophylac-

tically regulated” healthcare providers. Boards.MSJ.29-30. But the Boards’ exam-

ples—opioids, benzodiazepines, painkillers, and stimulants—underscore that SB 23-

190 is the odd one out. These prior “prophylactic[ ]” regulations involve well-estab-

lished public safety risks. See, e.g., H.B. 21-1276 §1(1)(a) (“death” from “opioid epi-

demic”); id. §1(1)(e) (“overdose” from “benzodiazepines”). Here, Defendants have yet

to identify a single patient harmed by APR. The Boards’ claim that its rules about




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APR are “no different than these previous examples” is simply not credible.

Boards.MSJ.30.

   For all these reasons, SB 23-190 fails Lukumi’s neutrality standard and is “plainly

unconstitutional.” Colo. Christian Univ. v. Weaver, 534 F.3d 1245, 1260 (10th Cir.

2008).

   B. The Eleventh Amendment does not bar Plaintiffs’ claims against the
      Attorney General.




                            Instead, it’s déjà vu all over again with the AG’s Eleventh

Amendment theory. This Court correctly rejected that argument before, Dkt.113 at

28-30, and should do so again.

   The Ex parte Young exception to Eleventh Amendment immunity “permits suits

for prospective injunctive relief against state officials acting in violation of federal

law.” Prairie Band Potawatomi Nation v. Wagnon, 476 F.3d 818, 828 (10th Cir. 2007).

The exception applies “so long as the defendant officer has ‘some connection with the

enforcement of the act.’” Chamber of Com. of U.S. v. Edmondson, 594 F.3d 742, 760

(10th Cir. 2010). “Some” connection does not mean a “special connection.” Wagnon,

476 F.3d at 828. The plaintiff need point only to “a particular duty to ‘enforce’ the

statute in question and a demonstrated willingness to exercise that duty.” Id. Both

prongs are met here.




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   The AG’s “particular duty” is manifest. As he has repeatedly conceded,

AG.MSJ.34; Dkt.68 at 16, “Colorado law specifically requires the attorney general to

bring charges referred to him by the Medical and Nursing Boards.” Dkt.113 at 30;

accord Colo. Rev. Stat. §§ 12-240-125(5)(b), (d), 12-255-119(3)(c)(V), (4)(d) (AG “shall

prosecute … charges” referred by Medical and Nursing Boards) (emphasis added).

This specific duty more than satisfies the “particular duty” prong. See, e.g., Kitchen

v. Herbert, 755 F.3d 1193, 1202-03 (10th Cir. 2014) (statutory authority to bring law-

suit and “exercise supervisory powers over the district and county attorneys” suffi-

cient). Nor can the AG seriously contest “demonstrated willingness,” since he has ex-

ercised these prosecutorial duties in the past. See, e.g., Colo. State Bd. of Med.

Exam’rs v. Boyle, 924 P.2d 1113, 1115 (Colo. App. 1996);

   The AG claims these statutory obligations are mere “client-service duties” that

“cannot overcome the Eleventh Amendment.” AG.MSJ.35. But Edmondson says noth-

ing of the sort. There, plaintiffs challenged two provisions of Oklahoma law. Their

first challenge identified a statutory duty to enforce and a history of past enforce-

ment, so the court found standing. Edmondson, 594 F.3d at 760. But their second

challenge “[did] not cite to any Oklahoma law authorizing the [AG] to enforce that

provision,” so the court found no standing. Id. It was in this context that the court

said—by way of a parenthetical citation to out-of-circuit dicta—that “a duty to prose-

cute all actions in which the state is interested” was insufficient. Id. (quoting Shell

Oil Co. v. Noel, 608 F.2d 208, 211 (1st Cir. 1979)). Here, Plaintiffs have identified



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specific statutory duties—far more than a mere “attorney-client relationship,” cf.

AG.MSJ.36—demonstrating that the AG “may or must take enforcement actions

against the [Plaintiffs] if they violate the terms of” the Medical and Nurse Practice

Acts. Whole Woman’s Health v. Jackson, 595 U.S. 30, 45-46 (2021). The snippet from

Edmondson is thus completely irrelevant.

    Doyle is similarly unavailing. AG.MSJ.35 (citing Doyle v. Hogan, 1 F.4th 249 (4th

Cir. 2021)). Doyle straightforwardly held that a state law requiring the AG to “‘[g]ive

his opinion in writing ... on any legal matter or subject’” did not give him “control over

enforcing the [challenged act].” 1 F.4th at 256. Here the AG’s enforcement power is

not only “necessarily encompassed by [his] overall enforcement authority,” Free

Speech Coal. v. Anderson, 119 F.4th 732, 740 (10th Cir. 2024), its exercise is required

by the Medical and Nurse Practice Acts. 4

    The AG fights the comparison to his counterpart in Ex parte Young, Dkt.113 at

30, because Young exercised “discretionary enforcement,” which the AG says is “quite

different” from his own mandatory role in prosecuting “referrals” from the Boards.

AG.MSJ.34-35. The AG has tried (and failed) the flip side of this argument before.

Teva Pharms., 709 F. Supp. 3d at 1376 (rejecting argument that AG is immune under

Eleventh Amendment because his “enforcement is discretionary”). If anything, the




4   That the Medical and Nurse Practice Acts do not appear in a list of statutes the AG can “inde-
pendently initiate and bring civil and criminal actions to enforce” is irrelevant. AG.MSJ.36. What
matters is that the AG has “some connection with the enforcement of the act,” Edmondson, 594 F.3d
at 760, as he plainly does.


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AG’s mandatory statutory duties here make him more closely connected to the en-

forcement regime, not less.

   Finally, for the first time in this litigation, the AG claims that the Eleventh

Amendment precludes Plaintiffs’ request for nominal damages. AG.MSJ.36-37. But

the AG has “waived” “any sovereign immunity defense to the nominal damages

claims” through “undu[e] delay[ ] in asserting it,” since he “had ample opportunity to

raise the issue earlier in this litigation,” including in his motion to dismiss. Platt v.

Moore, 15 F.4th 895, 910 (9th Cir. 2021); cf. Dkt.68 (no reference to nominal dam-

ages).

   C. SB 23-190 violates the Free Speech Clause by discriminating based
      on content and viewpoint (Count IV).

   The First Amendment prohibits the government from “excis[ing] certain ideas or

viewpoints from the public dialogue.” 303 Creative v. Elenis, 600 U.S. 570, 588 (2023).

Sections 1 and 2 do exactly this by regulating speech based on its content and view-

point. Pls.MSJ.44-47.

   Content discrimination. SB 23-190 is facially content based because it applies

only to speakers who discuss certain topics. Start with Section 1, which creates a

targeted “prohibition on deceptive trade practices” that applies to speakers who ad-

vertise one particular message by “offering to provide … medication abortion rever-

sal.” §1(3)(b). A speaker who advertises abortion is not subject to the law.




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   The AG does not brief content discrimination. Instead, he pins his hopes on Sec-

tion 1’s “uncodified” status. AG.MSJ.28-29. Although Section 1 is labeled a “legisla-

tive declaration,” it is “unlikely that Section One has no bearing on how a Colorado

court may interpret the CCPA in light of SB 23-190.” Dkt.113 at 22. For Colorado

courts, legislative intent is statutory meaning—with legislative declarations often

serving as the Rosetta Stone. Supra p.14 (collecting cases). The AG is free to rely on

Section 1 in enforcing SB 23-190 and the CCPA.

                                        And any casual reader would understand that

drawing a bead on advertisements about APR is what Section 1 is all about. Courts

are “not required to exhibit a naiveté from which ordinary citizens are free.” Dep’t of

Com. v. New York, 588 U.S. 752, 785 (2019).

   Section 2 is content based too. It applies only to speakers whose advertisements

“indicate[ ]” that they provide or refer for abortion or emergency contraceptives. §2(2).

Speakers who do provide abortion and emergency contraceptives cannot violate Sec-

tion 2.                          It’s thus a classic content-based statute that “singles

out specific subject matter for differential treatment,” Reed v. Town of Gilbert, 576

U.S. 155, 169 (2015), and “requires enforcement authorities to examine the content

of the message that is conveyed to determine whether a violation has occurred,” Ani-

mal Legal Def. Fund v. Kelly, 9 F.4th 1219, 1228 (10th Cir. 2021) (cleaned up).




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   SB 23-190 is also content based because Colorado enacted it out of “disagreement

with the message the speech conveys.” Reed, 576 U.S. at 164 (cleaned up). That disa-

greement is plain from Section 1’s litany of claims about “anti-abortion centers”—

including that they “use deceptive advertising tactics” and “go so far as to advertise

medication abortion reversal, a dangerous and deceptive practice that is not sup-

ported by science or clinical standards.” §1(1)(c)-(f). And the sponsors’ floor state-

ments are replete with disapproval. Supra at p.33. Because SB 23-190 is “targeted at

specific subject matter” and was enacted due to “‘disagreement’ with its message,” it

is “content based even if it does not discriminate among viewpoints.” Reed, 576 U.S.

at 167, 169.

   Viewpoint discrimination. But SB 23-190 does discriminate among viewpoints,

making the First Amendment violation here “all the more blatant.” Rosenberger v.

Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995). Section 1 explicitly targets

the views of “[a]nti-abortion centers” for their role in the “anti-choice movement.”

§1(1)(d). It effectuates that targeting by prohibiting (on its own and through the

CCPA) advertising or counseling patients about APR. §1(3)(b). Section 1 thus plainly

discriminates against the viewpoint that progesterone treatment can reverse the ef-

fects of mifepristone—while providers remain free to advertise any other form of pro-

gesterone treatment, or to claim that “expectant management” is safer or more effec-

tive than progesterone, even without proof. Pls.Ex.38 at 11-14;

        Cohen Tr.48:1-50:7, 127:13-129:9.



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   Section 2 doubles down. It prohibits false advertising by speakers who do not pro-

vide abortion or emergency contraceptives, leaving false advertising by speakers who

do provide and refer for abortions and emergency contraceptives untouched. §2(2);

                          This blinkered approach might seem innocent enough if the

preexisting CCPA didn’t contain at least two provisions that already prohibited the

same conduct. Colo. Rev. Stat. §6-1-105(1)(e), (rrr);




                                                                             So the real

purpose of Section 2 is to “target[ ] … particular views taken by speakers on a sub-

ject.” Rosenberger, 515 U.S. at 829. Because SB 23-190 “facilitate[s] speech on only

one side of the abortion debate,” it is “a clear form of viewpoint discrimination.”

McCullen v. Coakley, 573 U.S. 464, 485 (2014).

   The AG tries to analogize Section 2 to misrepresentations about radon mitigation.

AG.MSJ.30. But those provisions regulate false statements in either direction about

“the results of a radon test or the need for radon mitigation.” Colo. Rev. Stat. §6-1-

105(ll). By contrast, the legislature here acted out of disagreement with the message

of “anti-abortion centers,” §1(1)(c)-(e), and it passed a law that targets only those who

fail to provide abortion and contraception, rather than those who fail to provide pre-

natal care.



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   The AG says Section 2 does not “exclusively” target the speech of pro-life providers

because there are three “independent ways” to violate it. AG.MSJ.30-31. But the fact

that Section 2 favors providers who check all three boxes—abortion, emergency con-

traceptives, and referrals for the same—doesn’t make the discrimination any better.

Planned Parenthood can rest easy, but Bella is still in danger of future enforcement

for a “comprehensive” advertisement that “might be” deceptive. AG.MSJ.24. Indeed,

an abortion provider can call her clinic “Comprehensive Women’s Health Center”

without providing prenatal care, Cohen Tr.22:5-9, 25:11-12—and never lose a wink

of sleep over Section 2. That is viewpoint discrimination.

   The Supreme Court “has stressed the danger of content-based regulations ‘in the

fields of medicine and public health, where information can save lives.’” NIFLA v.

Becerra, 585 U.S. 755, 756 (2018). Colorado “may not burden the speech of others in

order to tilt public debate in a preferred direction.” Sorrell v. IMS Health, 564 U.S.

552, 578-79 (2011). As a content- and viewpoint-based restriction of speech, SB 23-

190 is “presumptively unconstitutional” and subject to strict scrutiny. NIFLA, 585

U.S. at 766.

   Not commercial speech. The AG makes a fainthearted attempt to dodge strict

scrutiny by recasting Section 1 (but not Section 2) as a “commercial” speech regula-

tion. AG.MSJ.28-29. That argument fails too.

   Bella’s speech about APR is not commercial. The Supreme Court has defined com-

mercial speech as “expression related solely to the economic interests of the speaker



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and its audience.” Central Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n, 447 U.S.

557, 561 (1980). Bella’s website affirms its commitment to “save mothers and babies

through sound medical counseling and [APR],” and to “cover all costs associated with

[APR], should finances be an issue.” Pls.MSJ.Ex.26 at 3. That is not speech that “does

no more than propose a commercial transaction.” Harris v. Quinn, 573 U.S. 616, 648

(2014).

   But even if Bella’s speech were commercial, the AG makes no attempt to satisfy

the “heightened scrutiny” that applies to content and viewpoint-based restrictions of

commercial speech. Sorrell, 564 U.S. at 565. “Under a commercial speech inquiry, it

is the State’s burden to justify its content-based law as consistent with the First

Amendment.” Id. at 571-72.




     Pls.Ex.62;                                        Because the AG fails to come

forward with any interest—much less a “substantial” one, U.S. West v. FCC, 182 F.3d

1224, 1233 (10th Cir. 1999)—in banning speech about APR, he cannot carry his bur-

den to justify Section 1 as a commercial-speech restriction under any legal standard.




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   D. SB 23-190 violates the First Amendment right to receive information
      (Count V).
   “The Supreme Court has repeatedly recognized that the First Amendment in-

cludes not just a right of free speech, but also a right to receive information.” Doe v.

City of Albuquerque, 667 F.3d 1111, 1118-19 (10th Cir. 2012) (collecting cases). SB

23-190 violates that right. Pls.MSJ.47-49.

   Both Section 1 and Section 3 are content-based on their face, as they “single[ ] out”

for “differential treatment” only one “specific subject”: APR. Reed, 576 U.S. at 169. As

explained, supra p.39, they were also enacted out of “disagreement with the message”

of APR, Reed, 574 U.S. at 164, and they “target … particular views” on the subject,

Rosenberger, 515 U.S. at 829.

   The AG says in passing that the First Amendment does not “guarantee anyone

the right to receive deceptive information.” AG.MSJ.29. This bluster is mystifying, as

the AG has doggedly refused to express any opinion about whether Bella’s speech

about APR is deceptive. Supra p.16. Reams of evidence—and 11 live babies since this

case was filed, Pls.SOF ¶136—show it is not. Infra pp.24-25. Having retreated from

the “central issue in this case,” Blake 12/13 Tr.147:2-11, the AG cannot now rescue

SB 23-190 with a backhand reference to unspecified “deceptive information.”

   The Boards argue only that Section 1 “restricts nothing because it was not codi-

fied.” Boards.MSJ.45. Wrong. Supra p.14. And Section 1 plainly can be “applied to

restrict the activities” of Plaintiffs, Boards.MSJ.45—and thus rob their patients of

crucial information—through the CCPA.



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   E. SB 23-190 violates the Fourteenth Amendment right of pregnant
      women not to be forced to undergo or continue an abortion (Counts
      VI-VIII).

   The Fourteenth Amendment protects the right to refuse “unwanted medical treat-

ment,” Cruzan v. Director, 497 U.S. 261, 278 (1990), and also forbids states from

“deny[ing] to any person … the equal protection of the laws.” U.S. Const. amend. XIV,

§ 1. SB 23-190 strips all of these rights. Pls.MSJ.49-50.

   The Boards insist that SB 23-190 and their rules pass constitutional muster be-

cause they “do not compel a patient to take misoprostol if they change their minds.”

Boards.MSJ.44. That misses the point. Of course depriving a woman of the ability to

use a safe medication to reverse the effects of mifepristone undermines her right to

decide to bear a child. It is preposterous and patronizing to claim that depriving her

of the progesterone available to all other pregnant women somehow “does nothing

but reinforce” her right to keep her child. Id.

   SB 23-190 also runs roughshod over Colorado’s Reproductive Health Equity Act

(RHEA). Both the Boards and the AG are “public entities.” Delp 11/25 Tr.76:5-10;



              And public entities are specifically prohibited from either “interfer[ing]

with” a woman’s “fundamental right” to continue her pregnancy in the “regulation or

provision of … services[ ] or information” or “[d]epriv[ing]” her of the “right to act …

during [her] pregnancy” based on “the potential, actual, or perceived impact on the

pregnancy, the pregnancy’s outcomes, or on the pregnant individual’s health.” Colo.



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Rev. Stat. §25-6-404(1). But that is exactly what Colorado has done. Depriving only

one category of women of the progesterone available to all others is an equal protec-

tion violation.

   F. SB 23-190 is void for vagueness (Count VIII).

   Separate and apart from its other defects, Section 2 is also unconstitutionally

vague. Pls.MSJ.50-52. A law is impermissibly vague if it either “fails to provide people

of ordinary intelligence a reasonable opportunity to understand what conduct it pro-

hibits” or “authorizes or even encourages arbitrary and discriminatory enforcement.”

Jordan v. Pugh, 425 F.3d 820, 824-25 (10th Cir. 2005). The vagueness test “applies

with particular force” in reviewing “laws dealing with speech.” Hynes v. Mayor of

Oradell, 425 U.S. 610, 620 (1976).

   Section 2 fails to provide fair notice. Any advertisement that falsely “indicates”

that the person “provides abortions or emergency contraceptives, or referrals for abor-

tions or emergency contraceptives” is prohibited as a deceptive trade practice. §2(2);

Colo. Rev. Stat. §6-1-734(2). “Indicates” is not a defined term, and Section 2 offers no

standards or guidance on what it means.

   The AG insists that the meaning of “indicates” is “unambiguous[ ],” AG.MSJ.31-

32—but he still refuses to say what that meaning is.



                                                             Thus, the undefined term

“indicates” has a “scope so indefinite” that it leaves “persons of common intelligence



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[to] necessarily guess at its meaning and differ as to its application.” Black Emergency

Response Team v. Drummond, 737 F. Supp. 3d 1136, 1148-49 (W.D. Okla. 2024). Sec-

tion 2 is vague for that reason alone.

   Citing National Federation of the Blind of Arkansas v. Pryor, 258 F.3d 851, 857

(8th Cir. 2001), the AG claims that “indicates” is not vague “[w]hen used in a con-

sumer protection statute.” AG.MSJ.23; see id. at 32. But Pryor contains no blanket

holding of the kind. In that case, the court rejected a vagueness challenge to a statute

regulating telemarketing—where the AG issued an authoritative and “reasonable in-

terpretation” of the challenged provision, thus “provid[ing] relevant assurance that

the statute will not be subject to arbitrary and discriminatory enforcement.” 258 F.3d

at 857. The AG offers no such interpretive guidance here, despite repeated opportu-

nities to do so.

   Even if Section 2 did provide fair notice, it still permits arbitrary and discrimina-

tory enforcement. SB 23-190’s “purpose”—which courts “often consider[ ]” in deciding

vagueness questions, Jordan, 425 F.3d at 825—is to target “anti-abortion centers.”

§1(1)(c)-(e). Its sponsors repeatedly took aim at the same terms that Bella routinely

uses. Pls.MSJ.4-5, 24-25, 32, 43. And the prospect that a future court or enforcement

authority will take its cues from the bill sponsors is far from a “marginal fact situa-

tion[ ].” AG.MSJ.32. The “potential chilling effect” on Bella’s “protected expression” is

“both real and substantial.” Jordan, 425 F.3d at 828.




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                                                                               On one

hand, the AG says Plaintiffs “are not engaging in the type of conduct that violates

[Section 2],” AG.MSJ.23—in which case he should have no reason to resist permanent

relief.




   This equivocation and obfuscation confirm vagueness. Section 2 unconstitution-

ally “leav[es] [Plaintiffs] in the dark about what the law demands,” thus “invit[ing]

the exercise of arbitrary power” and allowing future “prosecutors and courts to make

it up.” Sessions v. Dimaya, 584 U.S. 148, 175 (2018) (Gorsuch, J., concurring in part).

   G. The government cannot carry its burden under strict scrutiny.

   All these roads lead to strict scrutiny—“the most demanding test known to consti-

tutional law.” City of Boerne v. Flores, 521 U.S. 507, 534 (1997). Defendants must put

forth evidence “establishing that the requirement was narrowly tailored to advance




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a compelling governmental interest.” Axson-Flynn, 356 F.3d at 1294. The Boards fail

this “daunting task,” id., and the AG does not even try.

   Some claims don’t escape the gate. No Defendant argues that the speech re-

strictions in Section 1 and 2 satisfy any level of scrutiny—waiving the issue. Robert-

son v. Tokar, No. 23-cv-2132, 2024 WL 4817265, at *7 (D. Colo. Nov. 18, 2024). And

an argument that Colorado had any interest—much less a compelling one—in pass-

ing Sections 1 and 2 would be inconsistent with the AG’s ongoing claims that these

provisions do nothing at all. Blake 12/13 Tr.92:20-24; Dkt.51 at 67-68; AG.MSJ.16.

   No compelling interest. The Boards claim Colorado has two “compelling inter-

ests” in banning the use of progesterone for the sole purpose of counteracting the

effects of mifepristone: “regulating licensed medical professionals” and “protecting

patients.” Boards.MSJ.41. Colorado cannot rely on such “broadly formulated inter-

ests.” Fulton, 593 U.S. at 541. And regardless, the record disproves them.

   First, now that Colorado’s safety and effectiveness arguments have collapsed, see

supra pp.24-25, there is no evidence to support either stated interest—much less

prove they are “exceedingly persuasive.” SFFA v. Harvard Coll., 600 U.S. 181, 217

(2023). There is no reason to believe the Boards have a compelling need to restrict

women from receiving what their own expert calls a “low-risk medication” that is

“safe.” Cohen Report 1-C at 1; Dkt.99-1 at 17. And while Defendants contend that

“use of mifepristone without misoprostol may be associated with an increased risk of

potentially life-threatening hemorrhage” or “miscarriage later in the pregnancy and



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early delivery,” Boards.MSJ.37-38, those risks are associated not with the addition of

progesterone, but the absence of misoprostol. And that concern applies equally to ex-

pectant management, supra p.25, which Colorado declines to regulate. Pls.Ex.34 at

6-7. Having failed to show an “‘actual problem’ in need of solving,” Colorado’s claimed

interests fail. Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 799 (2011).

   These interests are even less compelling when viewed in light of Colorado’s failure

to regulate other practices. The Boards variously suggests that their concerns are

over treatments that “lack … scientific evidence” about their “potential risks” and

“efficacy,” Dkt.99 at 25, or that are “experimental procedures in the clinical context,

without the benefit of the safeguards of formal research,” Boards.MSJ.40, or that in-

volve ingesting a drug after its antagonist, id. at 3. But the problem here mirrors the

problem for general applicability: If these interests were compelling (or even substan-

tial), Colorado would have laws that prohibit treatments that lack scientific evidence,

or experimental treatments without formal research safeguards, or medication regi-

mens that involve ingesting a drug after its antagonist. But they don’t.

   By declining to regulate comparable medical treatments, Colorado “leaves appre-

ciable damage to [its] supposedly vital interest unprohibited,” and therefore cannot

show its supposed interests in regulation and safety are compelling. Lukumi, 508 U.S.

at 547; see also Yellowbear v. Lampert, 741 F.3d 48, 60 (10th Cir. 2014) (Gorsuch, J.)

(underinclusiveness raises inference that “claimed interest isn’t actually so compel-

ling after all”).



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   Finally, Colorado’s actions have confirmed that even the State does not view its

asserted interest in banning APR as compelling. First, when enacting SB 23-190, the

General Assembly did not issue an immediate ban on APR—it declared that APR

would be unprofessional conduct “unless” all three Boards issued rules finding that

APR is generally accepted. §3(2)(a) (emphasis added). If the interests were compel-

ling, why would the legislature grant regulatory discretion to flip the statutory “off”

switch? See Fulton, 593 U.S. at 535, 537, 542. Second, the Boards don’t treat the in-

terest as compelling either—eschewing categorical bans and instead reserving case-

by-case decision-making power. Pls.Ex.54; Pls.Ex.65. Third—and most damning at

this stage of the case—even the Attorney General does not find the asserted interest

compelling. After 21 months of litigation and full discovery, he still cannot formulate

a position about the safety or efficacy of APR—going so far as to refuse to endorse the

opinions of the experts his own lawyers hired. Supra p.43.

   Not narrowly tailored. Even if Defendants could muster a compelling interest—

they cannot—SB 23-190’s lack of narrow tailoring is an independent basis for holding

the ban is unconstitutional. A law that is “underinclusive in substantial respects” not

only undermines the government’s interests, see supra p.50, but also demonstrates

an “absence of narrow tailoring” that “suffices to establish [its] invalidity.” Lukumi,

508 U.S. at 546. Defendants provide no justification for treating APR different than

other unregulated uses of other unregulated uses of progesterone, other uses of drugs

with antagonists, or other unregulated off-label drug uses. See supra pp.24-28. Nor



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do Defendants provide any explanation for why Colorado is the only state in the coun-

try to need a ban on APR in order to regulate its medical professionals and protect

patients—many of whom want to provide, and receive, this life-saving treatment.

Holt v. Hobbs, 574 U.S. 352, 368-69 (2015) (practice in “vast majority of states” sug-

gests available less restrictive means). By “fail[ing] to offer any showing that [Colo-

rado] even considered less restrictive measures than those implemented,” Defendants

have failed to bear their burden of establishing that SB 23-190 is narrowly tailored.

FCA, 82 F.4th at 694.


                                   CONCLUSION

   For these reasons, Defendants’ motions for summary judgment should be denied.




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   Dated: February 28, 2025          Respectfully submitted,


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                          CERTIFICATE OF SERVICE

   I hereby certify that on February 28, 2025, I electronically filed the foregoing Re-

sponse to Defendants’ Motions for Summary Judgment with the Clerk of Court via

CM/ECF, which will provide electronic copies to counsel of record.

                                               /s/ Mark L. Rienzi
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                       CERTIFICATE OF COMPLIANCE

   I hereby certify that this brief contains 12,539 words. I further certify that this

brief and the brief filed by Plaintiff-Intervenor do not exceed a combined 17,500

words. Dkt.175. As to all other matters, I hereby certify that the foregoing pleading

complies with the type-volume limitation set forth in Judge Domenico’s Practice

Standard III(A)(1).

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